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                   BEFORE THE UNITED STATES JUDICAL PANEL
                        ON MULTIDISTRICT LITIGATION



    In re: Oral Phenylephrine Marketing and
            Sales Practices Litigation                               MDL-3089




                                     Certificate of Service

       I, Ruben Honik, counsel for plaintiffs, hereby certify that I caused a copy of my Notice of

Related Action to be served on October 9, 2023, on the following via email and the Court’s

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Defendant: Albertsons Companies Inc.
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Defendant: Amazon.com, Inc.
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        Case MDL No. 3089 Document 128-2 Filed 10/09/23 Page 18 of 22




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Defendant: Bayer Healthcare LLC
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Defendant: Bayer Corporation
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Defendant: CVS Pharmacy, Inc.
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Defendant: Church & Dwight Co., Inc.
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Defendant: GlaxoSmithKline LLC
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Defendant: Rite Aid Corporation
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Defendant: Wal-Mart Stores East 1 LP.
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        Case MDL No. 3089 Document 128-2 Filed 10/09/23 Page 22 of 22




Dated: October 9, 2023
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